         Case 1:15-cv-00701-JWF Document 205 Filed 08/10/21 Page 1 of 1

                          THE LINDEN LAW GROUP, P.C.
                                       5 Penn Plaza, 23rd Floor
                                      New York, New York 10001
                                            (212) 835-1532
                                         (718) 425-0692 (Fax)


                                          August 10, 2021

Via ECF

Mag. J. Jonathan W. Feldman
U.S. Magistrate Judge, U.S. Courthouse
100 State Street
Rochester, NY 14614

       Re:     Horn v. Medical Marijuana, Inc., et al.
               Case No: 15-CV-701 (JWF)

Dear Judge Feldman:

       In response to the Court’s Text Order of August 3, 2021 dismissing the Plaintiff’s RICO
cause of action, Plaintiff has no further briefing to submit to Court.

       Plaintiff requests herein that pursuant to the provisions of 28 U.S.C. 1367(c), the Court
decline supplemental jurisdiction over the fraud claim leaving Plaintiff to file in state court, or
otherwise pursuant to FRCP 54(b) the Court certify final judgment as to all prior dismissed
claims in this matter.

                                            Very truly yours,

                                            Jeffrey Benjamin
                                            Jeffrey Benjamin, Esq.
cc: All parties via ECF
